        Case 1:15-cv-07433-LAP Document 967 Filed 02/26/19 Page 1 of 7



UNITED STATES DISTRICT COURT
SOU THERN DISTRICT OF NEW YORK

-------------------------------------- x




VIRG I NI A GIUFFRE ,                                                                 15 Civ . 7433
                                                                                           OPIN I ON

                        Plaintiff ,

      -against-                                              . ·- -·· ......._--., ..... ................... ......... .
                                                             - - - - - - - - ......... -.+..__ ..... ......... " .....
                                                                                                 ,                       ~
                                                                                                                             -~- ._,.. __ ...




GHISLAINE MAXWELL ,

                        Defendant.

--------------------------------------X' .. ,
                                              f
                                                  :;~ ;\_~_:·: ;r:~ (; ~ -:·. u···
                                                  -,·:,)"";'f?
                                                       'l ·-·
                                                                 y;-•~·:
                                                                 J. .' , _
                                                                                                    ~             ll1
                                                                                                     .


APPEARANC ES:


            Attorney for Pl aintiff

            BOIES SCHILLER & FLEXNER LLP
            401 E. Las Olas Boulevard, Suite 1200
            Fort Lauderdale, FL 3330 1
            By : Sigrid Mccawley
                 Meredith Schultz


            Attorneys for Defendant

            HADDON, MORGAN & FOREMAN , P . C .
            1 50 East 10th Avenue
            Denver, CO 80203
            By:   Laura A. Menninger
                  Jeffrey Pagliuca
                  Ty Gee
        Case 1:15-cv-07433-LAP Document 967 Filed 02/26/19 Page 2 of 7



Sweet, D . J .



             Defendant Ghislaine Maxwell ("Maxwell " or the

"Defendant " ) has moved for an Order to Show Cause requiring

plaintiff Virginia Giuffre ("Giuffre" or the " Pl a i ntiff " ) to

state why this Court should not impose sanctions for their

failure to comp l y with this Court ' s Protective Order , ECF No .

64 , and Sealed Opinion dated November 14 , 2017 .



   I.    Prior Proceedings    &   Factual Background



            Giuffre commenced this action on September 21 , 2015 .



            On March 17 , 2016 , t he Court entered a Protective

Order providing confidentiality for documents , materials and/or

information so designated by the parties (the " Confidential

Materials " ) . See Order , ECF No . 62 . Under t h e Protec t ive Order ,

the parties are (a) proh i bited from disclosing such materials to

non - parties except on certain conditions , and (b) required at

the conclusion of the case to return or destroy each document

and all copies of these Confidentia l Ma t erials. Id .      ~~   5 - 7 , 12.

The Protective Order also provided that any such materials

submitted to the Court " shall be accompanied by a Mo t ion to Seal



                                      1
      Case 1:15-cv-07433-LAP Document 967 Filed 02/26/19 Page 3 of 7



pursuant to Section 6 . 2 of the Electronic Case Filing Rules &

Instructions for the Southern District of New York ." Id. 1 10.



            Throughout this action, four separate motions were

filed seeking access to certain Confidential Materials submitted

to the Court in various filings.



            In August 2016, Intervenor Alan Dershowitz

("Dershowitz")   requested unsealing of portions of a brief filed

in connection with a motion to quash, discrete emails filed with

the motion, and the manuscript of Giuffre 's memoir filed with

another motion. See ECF No. 364 . In January 2017 , Intervenor

Michael Cernovich ("Cernovich " ) requested unsealing of Maxwell's

summary judgment brief, her attorney's declaration in support of

the summary judgment motion, and any documents filed in

connection with the summary judgment motion. See ECF No. 551.

Dershowitz joined the motion. See ECF No.      610 . In October 2017 ,

Intervenors Jeffrey Epstein ("Epstein") and Lesley Groff

("Groff")   requested unsealing of numerous documents concerning

the alleged relationship between Epstein and Jane Doe 43--a

witness who was deposed in this action and who brought an action

against Epstein and Groff , Doe 43 v. Epstein et al., No 17 Civ .

616 (S.D.N.Y). See ECF No.    924. Finally, in April 2018 ,

Intervenors Julie Brown and the Miami Herald Media Company
                                   2
        Case 1:15-cv-07433-LAP Document 967 Filed 02/26/19 Page 4 of 7



(collectively, the "Miami Herald") moved to unseal all sealed

and redacted documents filed with the Court. See ECF No.           936.

Dershowitz and Cernovich joined the motion. See ECF Nos.           941    &


947.



            This Court denied each motion to unseal. See Sealed

Op.    (Nov. 2, 2016); ECF No. 892; Sealed Op.      (Nov. 17, 2017); ECF

No. 953. Dershowitz, Cernovich, and the Miami Herald appealed

the denial of their respective motions. See ECF Nos. 504,           915,

920, 955. The three appeals were consolidated and remain pending

in the Second Circuit.



            This action was settled and dismissed with prejudice

pursuant to a joint stipulation for dismissal on May 25, 2017.



            On July 6, 2017, Maxwell's counsel proposed a

procedure for compliance with Paragraph 12 of the Protective

Order under which the parties would destroy all Confidential

Materials in their possession, custody and control and would

cause any non-party to whom they provided Confidential Materials

to destroy the materials. See Gee Deel. Ex. A, ECF No. 958-1.

Giuffre's counsel rejected this proposal, contending that

Paragraph 12's provisions were not in effect because the case

had not "concluded" in light of the Second Circuit appeals. See
                                     3
        Case 1:15-cv-07433-LAP Document 967 Filed 02/26/19 Page 5 of 7



Gee Deel. Ex. B, ECF No. 958 - 2 . On Sep tember 6 , 2018, Maxwell's

counsel renewed their request that Giuffre and her counsel

comply with Paragraph 12. See Gee Deel. Ex. C, ECF No.           958-3 .

Giuffre 's counsel again stated their view that, until the

pending appeals were resolved, it would be premature to begin

implementing the provisions of Paragraph 12. See Gee Deel. Ex.

D, ECF No . 958 -4.



            As a result of the foregoing events, Maxwell filed the

instant motion for an Order to Show Cause requiring Giuffre and

her counsel to state why this Court should not impose sanctions

upon Giuffre or her counse l for their alleged violation of this

Court 's Protective Order and November 14, 2017 directive. ECF

No . 957. This motion was heard and marked fully submitted on

February 6, 2019.



  II.    The Motion is Denied



            By its terms, the Protective Order 's document

destruction provision is not triggered until the "conclusion of

this case ." Order i 12, ECF No. 62. The instant motion thus

requires this Court to interpret its own Order and determine the




                                     4
         Case 1:15-cv-07433-LAP Document 967 Filed 02/26/19 Page 6 of 7



time at whi c h this c ase has concluded for purposes of that

prov isi o n.   1




                "Courts that have issued protective orders requiring

the return of documents have customarily ordered such return at

the c o nclusion of the case, including all appeals." Standard

Inv. Chartered, Inc. v. Nat'l Ass'n of Sec. Dealers, Inc., No.

0 7 Civ. 2014       (SWK ) , 200 8 WL 1 9 9537, at * 14       (S.D.N.Y. Jan. 2 2,

200 8 ). Indeed, the "commo n practi c e                 . appears to be f o r

protective orders to require the                     . return [of] sensitive

mat e rial after the c ompletion o f all appeals in the case."

United States v. Bascian o , 03 Cr. 929 (NGG), 2006 WL 22704 3 2, at

*3 (E.D.N.Y. June 30, 2 006).



                As previ o usly described, the Se c ond Circuit currently

has pendi n g before it three appeals c o n c erning the documents

underlying the Protective Order. The possibl e o utc omes of these

c o nsolidated appeals include the unsealing of the entire d o cket,

which wo uld rende r aspe c ts of the instant motion moot, and a




        In support of her motion , Maxwe ll points to th is Court ' s Nove mber 17 ,
2017 Op i n i on , wh i ch stated : " [A]l l documents , mater i als , and i n f ormat i on
s ubjec t to the Protective Or der must be r eturn ed to the p arty who des i gnated
i ts confide ntiality as of the date t h i s act i on was dismi ss ed ." Seal e d Op . at
2 . However , that Opinio n f ocused on Epstein and Gro f f ' s mot i on to unsea l and
did not articulate the e ffect o f the pendi ng appeal s on the document
de s truc ti on p r ovis i on .
                                                 5
       Case 1:15-cv-07433-LAP Document 967 Filed 02/26/19 Page 7 of 7




remand to this Court for further proceedings , which may require

parties ' use of confidential materials subject to this motion .



          In sum, this case has not yet concluded and the

Protective Order's provision requiring the return of materials

wi ll not be enforced at this time.



  III. Conclusion



          For the foregoing reasons, Maxwell's motion for an

Order to Show Cause is denied .



          It is so ordered .




New York, NY
February_J-j~ 19

                                            U.S.D.J.




                                   6
